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 4                                 UNITED STATES DISTRICT COURT
 5                                          DISTRICT OF NEVADA
 6                                                     ***
 7    UNITED STATES OF AMERICA,                                 Case No. 2:16-cr-00046-GMN-PAL
 8                                             Plaintiff,
              v.                                                            ORDER
 9
      RYAN C. BUNDY,                                             (Mot. Ext. Time – ECF No. 1758)
10
                                             Defendant.
11

12          This matter is before the court on the Defendant Ryan C. Bundy’s Motion to Extend Time
13   (ECF No. 1758), filed March 24, 2017. This Motion is referred to the undersigned pursuant to 28
14   U.S.C. § 636(b)(1)(A) and LR IB 1-3 and 1-7 of the Local Rules of Practice.
15          The motion requests extensions of the “document deadline” related to Mr. Bundy’s Motion
16   to Dismiss Count Thirteen for Improper Venue (ECF No. 1678), Motion to Strike Counts Four and
17   Eleven Because of Alibi Defense (ECF No. 1681), and Objection to Magistrate Order and Motion
18   for De Novo Hearing Regarding Probable Cause and Pretrial Release on Own Recognizance (ECF
19   No. 1720) (the “Objection”). The government has filed responses to two of Bundy’s motions. See
20   (ECF Nos. 1734, 1733). Mr. Bundy requests the extensions because he is “presently under 24 hour
21   a day lock-down (in the ‘Hole’)” with no access to pen, pencils or writing tools; a computer,
22   discovery; regular mail or special or legal mail; the law library; or “his assistants of counsel and /
23   or Standby Counsel.” Mot. (ECF No. 1758) at 2. Thus, he asserts there is good cause for the court
24   to “extend the deadline regarding each document for 10 days [sic] additional days from each
25   individual the due date.” Id. at 3.
26          Having reviewed and considered the motion, the court will grant Mr. Bundy’s request to
27   extend the deadline to file a reply in support of his Motion to Dismiss Count Thirteen for Improper
28   Venue and Motion to Strike Counts Four and Eleven Because of Alibi Defense until April 7, 2017.

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 1   However, because the court has already denied Objection (ECF No. 1720), the request for an

 2   extension of time is now moot. Mr. Bundy filed the Objection on March 14, 2017, asking Chief

 3   District Judge Gloria M. Navarro to reconsider Magistrate Judge George W. Foley, Jr.’s Order

 4   (ECF No. 1550) denying Bundy’s Motion for Own Recognizance or Bail Pending Trial (ECF

 5   No. 1082). On March 17, 2017, Judge Navarro denied Bundy’s Objection and the related Motion

 6   for Hearing (ECF No. 1721) as untimely. See Min. Order (ECF No. 1729) (citing LR IB 3-1 and

 7   3-5). Because Judge Navarro has already ruled on the Objection, there is no remaining document

 8   deadline to extend and Bundy’s request is moot.1

 9             Accordingly,

10             IT IS ORDERED:

11             1. Defendant Ryan C. Bundy’s Motion to Extend Time (ECF No. 1758) is GRANTED

12                 IN PART and DENIED IN PART as moot.

13             2. Mr. Bundy shall have until April 7, 2017, to file a reply in support of his Motion to

14                 Dismiss Count Thirteen for Improper Venue (ECF No. 1678) and Motion to Strike

15                 Counts Four and Eleven Because of Alibi Defense (ECF No. 1681).

16             Dated this 24th day of March, 2017.
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18                                                               PEGGY A. LEEN
                                                                 UNITED STATES MAGISTRATE JUDGE
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         In addition, pursuant to LR IB 3-1 and 3-5, replies are allowed only with leave of the court.

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